Pro Se 14 (Rev. 12116) Complaint for Viola¢ion of` Civil Rights (Prisoner]

UNITED STATES DISTRICT CoURT

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names ofall the defendants ca)mot_fit in the space above, please
write "see attached " in the space and attach an additional page
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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include anly: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this fonn, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office With this complaint

ln order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperisl

 

 

 

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Pro Se 14 (Rev. 12."16) Complaint for Violation of Civil Rights (Prisoner)
I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint Attach additional pages if
needed.

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All other names by which
you have been known:

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City Sm'te Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation Make sure that the defendant(s)
listed below are identical to those contained in the above caption. F or an individual defendant, include
the person’s job or title (g'fknown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. l

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Defendant No. 2

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Pro Se 14 (Rev. l2/16) Complaint for Violation of Civil Rights (Prisoner}

II.

Dcfendant No. 3

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Defendant No. 4
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Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials f`or the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [t`ederal laws].” Under Bivens v. Six Unknown Named Agents of
F ederal Bureau of Narcott'cs, 403 U.S. 388 (]97]), you may sue federal officials for the violation of certain
constitutional rights.

A_ Are you bringing suit against (check all that apply):
|:| Federal officials (a Bt`vens claim)
Q/State or local officials (a § 1983 claim)

B. Scction 1983 allows claims alleging the “depn`vation of any rights, privileges, or immunities secured by
thc Constitution and [f`ederal laws].” 42 U.S.C. § 1983. If` you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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C. Plaintiff`s suing under Bz'vens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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Pro Se 14 (Rev. 12/16) Comp]aint for Violation of Civil Rights (Prisoner)

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
42 U.S.C. § 1983. lf you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how eSch defendant acteUi
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III. Prisoner Status

gale whether you are a prisoner or other confined person as follows (check all that apply):
Pretrial detainee

Civilly committed detainee
lmmigration detainee
Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

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IV. Statement ofClalm ©(m€{z'\

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed

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A. lf the events giving rise to your claim arose outside an institution, describe where and when they arose.

B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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C. What date and approximate time did the events giving rise to your claim(s) occur?

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D. What are the facts underlying your claim(s)? (For example W?'zat happened to you? W?zo did what?
rWas anyone else involved? Who else saw what happened?) Ol\_l l S[ ll B.D} 9.[)[[_0)~ _)_, LU%

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V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries an state what medical. -

_treatment, if any, you required and did or did not receive.`j__'{\j€\l€&_ (`@CCl \l€`é m §Y§§:yl CQ\ Tbm
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VI. Reliel`

State briefly what you Want the court to do for you. Make no legal arguments Do not cite any cases or statutes

If requesting money damages, include the amounts of any actual damages and!or punitive damages claimed for
the acts alleged Explain the basis for these claims.

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Pro Se 14 (Rcv. 12f16) Complaint for Violation of Civil Rights (Prisoner)

VII.

Exhaustion of Administrative Remedies Administrative Procedures
The Prison Litigation Refonn Act (“PLRA"), 42 U.S.C. § 1997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined

in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?
Yes

ENO

If yes, name the j ail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

foman tung.§©i\ t _ o

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

Yes

|:|No

E| Do not know

C. Does the grievance procedure at the j ail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

|:| ch

|:| N<>
moot know

Ifyes, which claim(s)?

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D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

Yes
|___l No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

m Yes
E No

E. If you did file a grievance:

l. Where did you tile the grievancc?

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3. What was the result,ifany? l~(X€\\f'C it \'\{\f’ 366 Ut?€l'\§ p\'@§lc[lt\ WC|) w
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4 What steps, if any, did you take to appeal that decisioan ls the grievance process completed? If
not, ,L,ex]&l€iny why not. (Descrr'be all reform to appeal to the highest level ofthe grievance process .)

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F. If you did not file a grievance:

l. If there are any reasons why you did not file a grievance, state them here:

 

2. If you did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

 

G. Please set forth any additio al information t atf'§ relevant to the exhaustion of your_ad `nistrative d m

remedies.-_L C\(Y\CU§ Cs\\ l€m€ l `\'3' Cllt\lm€§ C C\\ Smu€ t
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(Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
administrative remedies.)

VIII. Previous Lawsuits
The “three strikes rule’1 bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,

malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § l915(g).

To the best of your knowledge, have you had a case dismissed based on this “thrce strikes rule”?
|:| Yes
ad

lf yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible

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Pro Se 14 (Rev. 12/16) Complaint for Violation ofCivil Rigl_rts (Prisoner)

A.

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

E{es

|:lNo

lf your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (i[fthei'e is
more than one lawsuit, describe the additional lawsuits on another page using the same format )

I. Parties to the previous lawsuit

Piaimifr(s) :\B\»\n \(§g\£\;)\ h JY\L_\(:`l/\€L\ _ , ,, _
Defendant(s) OY\T\\'O CP§Q'\O\M j w&\)-(O(\J El__O]

2. Court (if federal court, name the district; ifstate court, name the county and State)
., _ c ,. .
Nitt>f)\_e _\.C).:o>rt\ll;’\k ._, _ n

3. Docket or index number

_\\ilr]:(:\l‘¥.:ll%\ _, . ,_ , , __ … _,

4. Name of Judge assigned to your case

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5. Approximate date of filing lawsuit
os\o?>\so‘r\ _ s _ _

6. Is the case still pending?

|:| No

lf no, give the approximate date of disposition

7. What was the result of` the case? (For example: Was the ease dismissed? Was judgment entered
in yourfavor? Was the case appealed?)

Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

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Pro Se 14 (Rev. 12/16) Complaint for Violation ofC‘ivil Rights (P\isoner)

E Yes
1340

D. If` your answer to C is yes, describe each lawsuit by answering questions l through 7 below. (Lf there is
more than one lawsuit describe the additional lawsuits on another page using the same format.')

1. Parties to the previous lawsuit
Plaintif`f`(s)
Defendant(s)

2. Court (if federal court, name the district,' ifstate court, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

m Yes
|:I No

If no, give the approximate date of disposition

7. What was the result of the case? (F or example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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IX.

Certification and Closing

Under Federal Rule of Civil Procedure ll, by signing below, l certify to the best of my knowledge, information,
and belief that this complaint ( l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity f`or further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of` Rule ll.

A. For Parties Without an Attorney

l agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: GU"\€ 119 jr abl(h .

Signature of Plaintiff _ ibm/(]£M /u%/'? /`H _\/c f _ 1 __
Printed Name orPlaimiff jublm\ tinpr ¢i'l((jy\fl\
Prison Identification# C)”USL\\'\_` _ j 7 _ , _
Prison Address 3315 O'\B \M§'F l \1 md __ _ , _ ,
j\\f>{§\(y($\_lici\t>€ _ , M,§`, . B\ACQKL

S!ate Zip Code

  
 

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm
Address

'Ci:zv _ ' j j jSu§e ' ` ' Zp Eode j _
Telephone Number
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